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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO. 1:21-cv-22510-JEM

 PATRICIA DEROSA
 also known as PATRISIA DURAN,

        Plaintiff,

 vs.

 HEALTHCARE REVENUE
 RECOVERY GROUP, LLC,

       Defendant.
 _______________________________________/

                                 PLAINTIFF’S NOTICE OF STRIKING

        Plaintiff Patricia Derosa also known as Patrisia Duran (“Plaintiff”) hereby gives Notice of

 Striking Plaintiff’s Certificate of Other Affiliates/Corporate Disclosure Statement [D.E. 3]

 pursuant to the Clerks Notice to Filer [D.E. 4] requiring corrective action.

        DATED: July 19, 2021
                                                               Respectfully Submitted,

                                                                /s/ Thomas J. Patti                                    .
                                                               THOMAS J. PATTI, ESQ.
                                                               Florida Bar No.: 118377
                                                               E-mail:    tom@jibraellaw.com
                                                               The Law Offices of Jibrael S. Hindi
                                                               110 SE 6th Street, Suite 1744
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                                                               COUNSEL FOR PLAINTIFF




                                                                                                                PAGE | 1 of 2
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                                         CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on July 19, 2021, the foregoing was electronically

 filed with the Clerk of the Court using the CM/ECF system which will send a notice of electronic

 filing to all counsel of record.

                                                                 /s/ Thomas J. Patti                                    .
                                                                THOMAS J. PATTI, ESQ.
                                                                Florida Bar No.: 118377




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